

People v Mikol (2025 NY Slip Op 50523(U))



[*1]


People v Mikol (John)


2025 NY Slip Op 50523(U)


Decided on April 15, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 15, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570026/25

The People of the State of New York, Respondent,
againstJohn Mikol, Defendant-Appellant.




Defendant appeals from an order of the Criminal Court of the City of New York, New York County (Kevin B. McGrath, Jr., J.), dated May 9, 2024, which denied his motion to seal a judgment of conviction pursuant to Criminal Procedure Law (CPL) 160.59.




Per Curiam.
Appeal from order (Kevin B. McGrath, Jr., J.), dated May 9, 2024, dismissed, as nonappealable.
In the absence of statutory authorization for an appeal (see CPL 450.10, 450.15; Correction Law § 168-n[3]), the underlying order, which was entered in a "criminal proceeding" (see CPL 1.20 [18]), with respect to a motion determined by the Criminal Court of the City of New York, a court of criminal jurisdiction (see NY Const art VI, § 15 [b]; CPL 10.10 [3] [b], 10.30), is not appealable (see People v Mclouglin, 65 NY2d 687, 688 [1985]; see generally Matter of People v Juarez, 31 NY3d 1186, 1188 [2018]; compare Matter of Hynes v Karassik, 47 NY2d 659, 661, n 1 [1979] [dealing with a matter determined by Supreme Court, a court having both civil and criminal jurisdiction]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: April 15, 2025









